NOT FOR PUBLICATION IN WEST'S HAWAI#I REPORTS AND PACIFIC REPORTER




                                           Electronically Filed
                                           Intermediate Court of Appeals
                                           CAAP-XX-XXXXXXX
                                           22-AUG-2024
                                           08:07 AM
                                           Dkt. 86 SO
   CAAP-XX-XXXXXXX, CAAP-XX-XXXXXXX, CAAP-XX-XXXXXXX, and
                      CAAP-XX-XXXXXXX


             IN THE INTERMEDIATE COURT OF APPEALS

                    OF THE STATE OF HAWAI#I

                       CAAP-XX-XXXXXXX
           RIANNE SANCHEZ, Petitioner-Appellee, v.
           INDIRA LOPEZ-RUIZ, Respondent-Appellant

     APPEAL FROM THE DISTRICT COURT OF THE FIRST CIRCUIT
                      HONOLULU DIVISION
                 (CIVIL NO. 1DSS-XX-XXXXXXX)

                       CAAP-XX-XXXXXXX
         INDIRA LOPEZ-RUIZ, Petitioner-Appellant, v.
                JOHN DOE, Respondent-Appellee

     APPEAL FROM THE DISTRICT COURT OF THE FIRST CIRCUIT
                      HONOLULU DIVISION
                 (CIVIL NO. 1DSS-XX-XXXXXXX)

                       CAAP-XX-XXXXXXX
         INDIRA LOPEZ-RUIZ, Petitioner-Appellant, v.
             RIANNE SANCHEZ, Respondent-Appellee

     APPEAL FROM THE DISTRICT COURT OF THE FIRST CIRCUIT
                      HONOLULU DIVISION
                 (CIVIL NO. 1DSS-XX-XXXXXXX)

                               and

                       CAAP-XX-XXXXXXX
         INDIRA LOPEZ-RUIZ, Petitioner-Appellant, v.
         SEAN W. CAUDLE-PERKINS, Respondent-Appellee

     APPEAL FROM THE DISTRICT COURT OF THE FIRST CIRCUIT
                      HONOLULU DIVISION
                 (CIVIL NO. 1DSS-XX-XXXXXXX)
  NOT FOR PUBLICATION IN WEST'S HAWAI#I REPORTS AND PACIFIC REPORTER



                    SUMMARY DISPOSITION ORDER
  (By: Leonard, Acting Chief Judge, Hiraoka and Wadsworth, JJ.)

          This consolidated appeal stems from four proceedings in

the Honolulu Division of the District Court of the First Circuit

(District Court).   In CAAP-XX-XXXXXXX, Respondent-Appellant

Indira Lopez-Ruiz (Lopez-Ruiz), appearing pro se, appeals from a

January 17, 2024 Injunction Against Harassment entered by the

District Court1 against her and in favor of Petitioner-Appellee

Rianne Sanchez (Sanchez).     In CAAP-XX-XXXXXXX, CAAP-XX-XXXXXXX,

and CAAP-XX-XXXXXXX, Lopez-Ruiz, as Petitioner-Appellant, appeals

from various requests for temporary restraining orders and/or

other relief against Sanchez and others, all of which were denied

by the District Court on various dates.2

          Lopez-Ruiz filed an Opening Brief in each of these

appeals, all of which we have carefully reviewed.           However,

Lopez-Ruiz's Opening Briefs do not comply with the Hawai#i Rules

of Appellate Procedure (HRAP) in numerous and important ways.

See HRAP Rules 28(b)(4), (7).      We focus on the important

infirmities because they hamper our review of her appeals.

Lopez-Ruiz does not include any points of error or arguments that
the District Court erred in its rulings.        Lopez-Ruiz does not

include any citations to the record in these cases, including

where she contends that the District Court erred and where she

raised her arguments or objections in the trial court.           Lopez-

Ruiz does not explain how the legal authorities that she recites

     1
          The Honorable Ronette M. Kawakami presided.
     2
          The Honorable Shellie K. Park-Hoapili presided.

                                    2
  NOT FOR PUBLICATION IN WEST'S HAWAI#I REPORTS AND PACIFIC REPORTER


support her contentions that she is entitled to relief from the

District Court's rulings.       Most fundamentally, Lopez-Ruiz makes

no cogent argument that the District Court erred in any way in

these cases.

            Hawai#i courts have long adhered to the policy of

affording litigants the opportunity to be heard on the merits

whenever possible.      Morgan v. Plan. Dep't, 104 Hawai#i 173,

180-81, 86 P.3d 982, 989-90 (2004) (quoting O'Connor v. Diocese

of Honolulu, 77 Hawai#i 383, 386, 885 P.2d 361, 364 (1994)).              In
view of this longstanding policy, self-represented litigants like

Lopez-Ruiz do not automatically have their access to appellate

review foreclosed because of failure to conform to requirements

of the procedural rules.       Id.   In that light, we have carefully

reviewed Lopez-Ruiz's statements to the extent they can be

discerned.    We nevertheless conclude that no relief can be

granted in these appeals.3

            For these reasons, the District Court's orders entered

in the proceedings underlying CAAP-XX-XXXXXXX, CAAP-XX-XXXXXXX,

CAAP-XX-XXXXXXX, and CAAP-XX-XXXXXXX are affirmed.

            DATED: Honolulu, Hawai#i, August 22, 2024.

On the briefs:                            /s/ Katherine G. Leonard
                                          Acting Chief Judge
Indira Lopez-Ruiz,
Plaintiff-Appellant Pro Se.               /s/ Keith K. Hiraoka
                                          Associate Judge

                                          /s/ Clyde J. Wadsworth
                                          Associate Judge



      3
            We have reviewed the document filed by Lopez-Ruiz on August 14,
2024, and determined that no further action by this court is warranted.

                                      3
